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Fn.ED ev d£“/ D.c.

UNITED STATES DISTRICT COURT umw
WESTERN DISTRICT OF TENNESSEE _
Western I)ivision 05 JUL l l PH 3' l l
UNITED STATES OF AMERICA CM%ASWF:HCTM
Wl'(DC‘l-:T ~N iii lilpl'lls
-vs- Case No. 2:0Scr20224- 001B
.]AMAL WILLIAIV[S

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment ofcounsel. Accotdingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

- All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, this {QQ°_E` day of J uly, 2005.

<§TM god

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Ot`t`ice

Assistant F ederal Public Defender

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20224 Was distributed by faX, mail, or direct printing on
July l2, 2005 to the parties listed.

 

 

PDA

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Ste. 200

l\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

